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                            THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF ALASKA



 FRIENDS OF ALASKA NATIONAL                  Case No. 3:18-cv-00029-TMB
 WILDLIFE REFUGES, THE
 WILDERNESS SOCIETY, NATIONAL                FIRST AMENDED COMPLAINT
 AUDUBON SOCIETY, WILDERNESS                 FOR DECLARATORY AND
 WATCH, CENTER FOR BIOLOGICAL                INJUNCTIVE RELIEF (Administrative
 DIVERSITY, DEFENDERS OF                     Procedure Act, 5 U.S.C. §§ 702–06;
 WILDLIFE, NATIONAL WILDLIFE                 Alaska National Interest Lands
 REFUGE ASSOCIATION, ALASKA                  Conservation Act, 16 U.S.C. § 3101 et.
 WILDERNESS LEAGUE, and SIERRA               seq., National Environmental Policy Act,
 CLUB                                        42 U.S.C. §§ 4321–4370h, Endangered
                                             Species Act, 16 U.S.C. §§ 1531–1544)
                               Plaintiffs,
                       v.

 RYAN ZINKE, in his official capacity as
 Secretary of the U.S. Department of the
 Interior, U.S. DEPARTMENT OF THE
 INTERIOR, and U.S. FISH AND
 WILDLIFE SERVICE,

                             Defendants.




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        Plaintiffs Friends of Alaska National Wildlife Refuges, The Wilderness Society,

Defenders of Wildlife, National Audubon Society, Wilderness Watch, Center for Biological

Diversity, National Wildlife Refuge Association, Alaska Wilderness League, and Sierra Club

(collectively “Friends”) file this First Amended Complaint for Declaratory and Injunctive Relief,

alleging:

                                    I.       NATURE OF THE CASE

        1.       This action seeks to protect Friends’, and their members’ and supporters’, interest

in the Izembek National Wildlife Refuge (“Izembek” or “Refuge”) and Izembek Wilderness

from the unlawful exchange of Refuge lands in violation of the Alaska National Interest Lands

Conservation Act (“ANILCA”), the National Environmental Policy Act (“NEPA”), and the

Endangered Species Act (“ESA”).

        2.       The U.S. Department of the Interior (“Interior”) recently entered into a land

exchange agreement with the King Cove Corporation (“KCC”) to trade away lands within

Izembek’s designated Wilderness for KCC-owned lands to allow for the construction of a road

connecting the community of King Cove to the Cold Bay airport. Interior cited to ANILCA §

1302(h) as providing the authority to enter into the exchange.

        3.       The exchange does not further the purposes of ANILCA as required by ANILCA

§ 1302(h). The Secretary failed to follow the requirements of both Title XI of ANILCA, NEPA,

42 U.S.C. §§ 4321–4370h, and NEPA’s implementing regulations, and the ESA, 16 U.S.C. §§

1531–1544, and the ESA’s implementing regulations.

        4.       Friends seeks vacatur, declaratory, and injunctive relief because the land

exchange decision is arbitrary, capricious, an abuse of discretion, and not in accordance with the

law.



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                                 II.      JURISDICTION AND VENUE

        5.       This Court has jurisdiction over the parties and subject matter of this action

pursuant to 5 U.S.C. §§ 702–06 (Administrative Procedure Act), 28 U.S.C. § 2201–02

(declaratory judgment), and 28 U.S.C. § 1331 (federal question jurisdiction).

        6.       Venue is proper in the District of Alaska under 28 U.S.C. § 1391 because a

substantial part of the events giving rise to the claims occurred within the District of Alaska and

the lands at issue are in Alaska.

        7.       Pursuant to 16 U.S.C. § 1540(g)(2), on January 31, 2018, Friends provided

written notice of violation of the ESA to FWS and DOI, and informed the agencies of Friends’

intent to sue if consultation was not commenced within sixty days of transmittal. A true and

correct copy of the notice letter is attached as Exhibit A. The allegations in Exhibit A are

incorporated here by reference.


                                              III.     PARTIES

        8.       Plaintiff Friends of Alaska National Wildlife Refuges is a nonprofit organization

founded in 2005 and based in Anchorage, Alaska. It is a volunteer group that works to assist the

U.S. Fish and Wildlife Service (“FWS”) to accomplish its congressionally-mandated mission for

the sixteen national wildlife refuges in Alaska. Its mission is to promote the conservation of all

Alaska National Wildlife Refuges through understanding and appreciation, and to assist the FWS

through outreach to decision-makers. It has sent members and supporters to Izembek for

volunteer projects in the past and is organizing another volunteer project in the summer or fall of

2018.

        9.       Plaintiff The Wilderness Society is a nonprofit organization headquartered in

Washington, D.C., with offices throughout the country, including Alaska. Its overall mission is

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to protect wilderness and inspire Americans to care for wild places. The goal of its Alaska

program is to permanently protect special places in America’s arctic and sub-arctic, including

Alaska’s national wildlife refuges and designated Wilderness areas in Alaska. This includes

Izembek and the designated Wilderness lands there.

        10.      Plaintiff National Audubon Society is a nonprofit organization. Its mission is to

conserve and restore natural ecosystems, focusing on birds, other wildlife, and their habitats, for

the benefit of humanity and the earth’s biological diversity. Audubon uses science, advocacy,

education and conservation to achieve its goal. Audubon operates state programs around the

country, including in Alaska. Audubon Alaska works to conserve Alaska’s incredible birds,

including birds that rely on Izembek and the bird habitat in the Refuge.

        11.      Plaintiff Wilderness Watch is a nonprofit organization founded in 1989. Its

mission is to defend the nation’s 109 million-acre National Wilderness Preservation System.

Wilderness Watch advocates for appropriate stewardship according to the requirements of the

Wilderness Act of 1964. Wilderness Watch monitors agency stewardship of designated

Wilderness in Alaska and organizes its members to participate in public processes in Alaska that

impact designated Wilderness.

        12.      Plaintiff Center for Biological Diversity is a nonprofit organization that works

through science and environmental law to advocate for the protection of endangered, threatened,

and rare species and their habitats throughout the United States, including Alaska. The Center

has a long-standing interest in the conservation of threatened and endangered species and their

habitats in Alaska. Specifically, the Center has advocated for protections of the southwest Alaska

sea otter, Steller’s eider, Steller sea lion, brown bear, and other wildlife that occur in or near

Izembek.


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        13.      Plaintiff Defenders of Wildlife is a nonprofit organization founded in 1947. Its

mission is to protect all native animals and plants in their natural communities. It advocates for

the sound management of our public lands, including national wildlife refuges. Defenders of

Wildlife has an office in Anchorage and one of the refuges that Defenders of Wildlife works to

protect is Izembek.

        14.      Plaintiff National Wildlife Refuge Association is a non-profit organization

focused exclusively on protecting and promoting the 850 million-acre National Wildlife Refuge

System, the world’s largest network of lands and waters set aside for wildlife conservation.

Founded in 1975, its mission is to conserve America’s wildlife heritage for future generations

through strategic programs that enhance the National Wildlife Refuge System and the landscapes

beyond its boundaries. With approximately 80% of the land mass of the National Wildlife

Refuge System in Alaska, the National Wildlife Refuge Association has throughout its history

focused significant resources on protecting and enhancing Refuge System resources throughout

the state.

        15.      Plaintiff Alaska Wilderness League is a non-profit organization founded in 1993

to further the protection of public lands and waters in Alaska. Its mission is to lead the effort to

preserve Alaska’s wild lands and waters by engaging citizens and decision makers. It has offices

in Anchorage and Washington, D.C., as well as other locations.

        16.      Plaintiff Sierra Club is the nation’s oldest and largest grassroots environmental

organization. The Sierra Club is a national nonprofit organization with over 830,000 members

dedicated to exploring, enjoying, and protecting the wild places of the Earth; to practicing and

promoting the responsible use of the Earth’s ecosystems and resources; to educating and

enlisting humanity to protect and restore the quality of the natural and human environment; and


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to using all lawful means to carry out these objectives. The Sierra Club’s concerns encompass a

variety of environmental issues in Alaska and beyond, including an interest in protecting

designated Wilderness. The Alaska Chapter of the Sierra Club has over 1,800 members.

        17.      Friends and their members and supporters have long-standing interests in

protecting Izembek from a land exchange and road construction. These interests include

preserving and enjoying the wildlife, habitat, and wilderness values of Izembek for recreational,

aesthetic, and environmental protection purposes. Friends’ staff, members, and supporters have

visited Izembek, enjoyed viewing its wildlife, and experienced the Wilderness and habitat that

Izembek provides. Friends and their members have strong recreational, aesthetic, scientific, and

other interests in the wildlife that uses and depends on Izembek, including migratory birds and

terrestrial mammals.

        18.      Friends members’ and supporters’ interests in Izembek are adversely affected by

the land exchange agreement because it will result in the removal of designated Wilderness from

the Refuge for the purpose of constructing a road through the heart of Izembek. The removal of

designated Wilderness from the National Wilderness Preservation System and the National

Wildlife Refuge System harms the interests of Friends’ members and supporters. These actual,

concrete injuries are fairly traceable to Interior’s decision to enter into the land exchange

agreement, and would be redressed by the relief sought in this case.

        19.      Defendant Ryan Zinke is the Secretary of the U.S. Department of the Interior and

is being sued in his official capacity. As the Secretary, he is charged with the supervision and

management of all decisions, operations, and activities of the Department and its divisions.

        20.      Defendant U.S. Department of the Interior is an executive agency of the United

States responsible for oversight of the National Wildlife Refuge System and public lands.


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        21.      Defendant U.S. Fish and Wildlife Service is an agency within the U.S.

Department of the Interior and is responsible for the management of the National Wildlife

Refuge System.


                                 IV.      STATUTORY FRAMEWORK

        22.      Congress passed ANILCA to “preserve unrivaled scenic and geological values

associated with natural landscapes; to provide for the maintenance of sound populations of, and

habitat for, wildlife species of inestimable values . . . , including those species dependent on vast

relatively undeveloped areas; to preserve in their natural state extensive unaltered arctic tundra,

boreal forest, and coastal rainforest ecosystems; to protect the resources related to subsistence

needs; to protect and preserve historic and archeological sites, rivers, and lands, and to preserve

wilderness resource values and related recreational opportunities . . . ; and to maintain

opportunities for scientific research and undisturbed ecosystems.” 16 U.S.C. § 3101(b).

        23.      Title XIII of ANILCA provides that “the Secretary is authorized, consistent with

other applicable law in order to carry out the purposes of this Act, to acquire by purchase,

donation, exchange, or otherwise any lands within the boundaries of any conservation system

unit.” 16 U.S.C. § 3192(a).

        24.      The Secretary is permitted to exchange lands under ANILCA “on the basis of

equal value” or, if the parties agree to an unequal-value exchange, the Secretary must determine

that the exchange is in the public interest. 16 U.S.C. § 3192(h)(1).

        25.      The Secretary may only exchange lands under ANILCA if the exchange furthers

“the purposes of [ANILCA].” 16 U.S.C. § 3192(h)(1).




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        26.      Congress included this exchange provision to authorize the Secretary to acquire

inholdings in conservation system units to further the purposes of those units, without resorting

to condemnation proceedings.

        27.      Congress passed the Alaska Native Claims Settlement Act (“ANCSA”) to provide

for the expeditious, fair, and just settlement of certain land claims of Alaska Natives. 43 U.S.C. §

1601.

        28.      ANCSA requires that where a patent conveys lands within the National Wildlife

Refuge System to any Village Corporation, that patent “shall contain a provision that such lands

remain subject to the laws and regulations governing use and development of such Refuge.” 43

U.S.C. § 1621(g).

        29.      Title XI of ANILCA establishes a “single comprehensive statutory authority for

the approval or disapproval of applications for [transportation and utility] systems” through

Alaska public lands. 16 U.S.C. § 3161(c). This applies to roads constructed through conservation

system units, including National Wildlife Refuges and designated Wilderness. 16 U.S.C. §

3162(4).

        30.      ANILCA requires that transportation facilities “be approved or disapproved in

accordance with the procedures set forth in this subchapter.” 16 U.S.C. § 3162; see also 16

U.S.C. § 3164(a) (“Notwithstanding any provision of applicable law, no action by any Federal

agency under applicable law with respect to the approval or disapproval of the authorization, in

whole or in part, of any transportation or utility system shall have any force or effect unless the

provisions of this section are complied with.”).

        31.      Transportation systems may not be constructed through designated Wilderness

without a recommendation by the President and approval by Congress. 16 U.S.C. § 3166(b), (c).


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        32.      The Wilderness Act was passed to protect for present and future generations “the

benefits of an enduring resource of wilderness” and establish the National Wilderness

Preservation System to protect areas and provide for their use and enjoyment as unimpaired

wilderness. 16 U.S.C. § 1131(a).

        33.      Congress directed that Wilderness be managed to preserve its wilderness

character, devoting it to “the public purposes of recreational, scenic, scientific, educational,

conservation, and historical use” 16 U.S.C. § 1133(b).

        34.      The mission of the National Wildlife Refuge System is “to administer a national

network of lands and waters for the conservation, management, and where appropriate,

restoration of fish, wildlife, and plant resources and their habitats within the United States for the

benefit of present and future generations of Americans.” 16 U.S.C. § 668dd(a)(2).

        35.      Refuges must be managed “to fulfill the mission of the System, as well as the

specific purposes for which that refuge was established.” 16 U.S.C. § 668dd(a)(3)(A); see also

16 U.S.C. § 668dd(a)(4)(B) & (D) (requiring the Secretary to administer the refuge to achieve

the purposes of the refuge and the mission of the Refuge System).

        36.      NEPA is “our basic national charter for protection of the environment.” 40 C.F.R.

§ 1500.1(a). NEPA’s twin aims are to ensure that federal agencies take a hard look at the

environmental impacts of their proposed actions before taking an action and to ensure that

agencies provide relevant information to the public so the public can play a role in both the

decision-making process and the implementation of the decision. 40 C.F.R. § 1502.1.

        37.      NEPA requires federal agencies to prepare a detailed environmental impact

statement (“EIS”) for every major federal action that will have a significant impact on the quality

of the human environment. 42 U.S.C. § 4332. Such a statement is required to “provide full and


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fair discussion of significant environmental impacts and shall inform decisionmakers and the

public of the reasonable alternatives which would avoid or minimize adverse impacts or enhance

the quality of the human environment.” 40 C.F.R. § 1502.1.

        38.      Federal agencies shall supplement an EIS if there are “substantial changes to the

proposed action that are relevant to environmental concerns” or “significant new circumstances

or information relevant to environmental concerns and bearing on the proposed action or its

impacts.” 40 C.F.R. § 1502.9.

        39.      Congress enacted the ESA to protect and conserve threatened and endangered

species and the ecosystems upon which they depend. 16 U.S.C. § 1531(b). It is “the policy of

Congress that all Federal departments and agencies shall seek to conserve endangered

species and threatened species and shall utilize their authorities in furtherance of the purposes of

[the ESA].” 16 U.S.C. § 1531(c).

        40.      The FWS and the National Marine Fisheries Service (NMFS) share

responsibilities for administering the ESA and performing consultations. 50 C.F.R. § 402.01(b).

Certain marine threated or endangered species are under the jurisdiction of NMFS; all

other listed species are under the jurisdiction of FWS. 50 C.F.R. § 402.01(b).

        41.       Section 7(a)(2) of the ESA imposes the obligation on federal agencies to consult

with either FWS or NMFS to ensure protection of listed species: “Each Federal agency, shall, in

consultation with and with the assistance of the [Secretary of the Interior or the Secretary of

Commerce], insure that any action authorized, funded or carried out by such agency . . . is not

likely to jeopardize the continued existence of any endangered species or threatened species or

result in the destruction or adverse modification of [critical] habitat . . . .” 16 U.S.C. §

1536(a)(2).


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        42.      The ESA prescribes a three-step process to ensure compliance with its substantive

provisions by federal agencies. A federal agency proposing to take an action must inquire of the

Secretary of Interior or Secretary of Commerce whether any threatened or endangered species

“may be present” in the area of the proposed action. 16 U.S.C. § 1536(c)(1). If the answer is

affirmative, such agency shall conduct a biological assessment to determine whether such

species “is likely to be affected” by the action. Id.

        43.      If the biological assessment determines that an action “may affect listed species or

critical habitat,” formal consultation with the Secretary is required. 16 U.S.C. § 1536(a)(3); 50

C.F.R. § 402.14. Formal consultation concludes with the Service's issuance of a biological

opinion. 16 U.S.C. §1536(b)(3).

        44.      If it is determined by the federal agency, “with the written concurrence of [FWS

or NMFS], that the action is not likely to adversely affect listed species or critical habitat, the

consultation process is terminated, and no further action is necessary.” 50 C.F.R. § 402.13.


                 V.       IZEMBEK BACKGROUND AND LAND EXCHANGE

        45.      Izembek has been recognized for decades as an area with particularly valuable

wildlife habitat. Efforts to protect Izembek began in the early 1940s. The area was first protected

in 1960 as the Izembek National Wildlife Range (“Range”) as a “refuge, breeding ground, and

management area for all forms of wildlife” because of the importance of the area to waterfowl,

brown bear, and caribou. Establishing the Izembek National Wildlife Range, Pub. Land Order

2216, 25 Fed. Reg. 12599, 12600 (Dec. 6, 1960). In establishing the Range, the Department of

the Interior recognized that it “contain[s] the most important concentration point for waterfowl in

Alaska.” Office of the Secretary, Department of the Interior, Information Service, Press Release

Dec. 7, 1960.

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        46.       The area’s importance was reaffirmed in 1980, when Congress renamed the

Izembek Range as the Izembek National Wildlife Refuge and designated approximately 307,982

of the 315,000 acres as Wilderness (“the Izembek Wilderness”). Alaska National Interest Lands

Conservation Act, Pub. L. No. 96–487, §§ 303(3)(A), 702(6), 94 Stat. 2371 (1980).

        47.      Congress established Izembek because of its ecologically unique habitat and

wilderness characteristics. Specifically, Congress established Izembek for the following

purposes:

        (i)      [T]o conserve fish and wildlife populations and habitats in their natural
                 diversity including, but not limited to, waterfowl, shorebirds and other
                 migratory birds, brown bears and salmonids;

        (ii)     [T]o fulfill the international treaty obligations of the United States with
                 respect to fish and wildlife and their habitats;

        (iii)    [T]o provide, in a manner consistent with the purposes set forth in
                 subparagraphs (i) and (ii), the opportunity for continued subsistence uses
                 by local residents; and

        (iv)     [T]o ensure, to the maximum extent practicable and in a manner consistent
                 with the purposes set forth in paragraph (i), water quality and necessary
                 water quantity within the refuge.

Id. § 303(3)(B).

        48.      When drafting ANILCA, Congress noted:

        The Izembek Wilderness possesses outstanding scenery, key populations of
        brown bear, caribou and other wilderness-related wildlife, and critical watersheds
        to Izembek Lagoon. About 68 percent of the total lands in Izembek Lagoon are
        covered with the largest eelgrass beds in the world. These beds are utilized by
        millions of waterfowl for migration and wintering purposes. A wilderness
        designation will protect this critically important habitat by restricting access to the
        lagoon.

H. R. REP. NO. 96-97, at 136 (1979).




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        49.      Izembek is one of the world’s most important migratory bird staging and

wintering habitats, supporting millions of migratory waterfowl and shorebirds in its coastal

lagoons and freshwater wetlands complex.

        50.      Izembek and its adjacent wetlands and nearshore marine environment provide

habitat for several federally-protected species, such as the Steller's eider, northern sea otter, and

Steller sea lion. Upon information and belief, no biological assessment has been prepared to

consider impacts from road construction on these species.

        51.      The Alaska breeding population of Steller’s eider was listed as threatened in

1997, and its designated critical habitat includes areas within the Izembek Refuge. Final EIS 3-

173 – 3-174.

        52.      Northern sea otters, listed as threatened in 2005, appear year round in marine

waters adjacent to the Izembek Refuge. Izembek Lagoon was designated as part of the northern

sea otters’ critical habitat in 2009. Final EIS 3-179 - 3-181.

        53.      Steller’s eiders and northern sea otters are species under the jurisdiction of FWS

for purposes of the ESA.

        54.      The NMFS classified the western distinct population segment of Steller sea lion

as endangered in 1997, and its 20-nautical mile critical habitat buffer extends into the Izembek

Lagoon. Final EIS 3-185.

        55.      Izembek also provides high quality brown bear and caribou habitat.

        56.      Izembek is internationally-recognized for its unique and ecologically significant

wetlands and wildlife. It was designated as a Wetland of International Importance by the Ramsar

Convention on Wetlands of International Importance in 1986. Listing under this Convention

“reflects a national commitment to maintain the ecological characteristics of the area.” Letter


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from Director, U.S. Fish and Wildlife Service, to Robin West, Manager, Izembek National

Wildlife Refuge (June 16, 1989).

        57.      The FWS has evaluated the effects of a road from King Cove to Cold Bay

multiple times.

        58.      In the early 1980s, DOI conducted an analysis of a road through Izembek,

concluding that a road could cause long-term damage to the Refuge’s unique and ecologically

important habitats.

        59.      In 1985, DOI acknowledged that a road through Izembek Wilderness could only

be built with congressional approval under Title XI of ANILCA. Bristol Bay Reg’l Mgmt. Plan

and Final Environmental Impact Statement at 8-16, 8-101, U.S. Dep’t of Interior (1985); see also

Record of Decision for the Izembek Nat’l Wildlife Refuge Comprehensive Conservation Plan,

122 & Appendix A (August 1, 1985) (noting that congressional approval will be required to

build a road across Izembek Wilderness).

        60.      In 1985, DOI also concluded that “[t]he presence of a road [connecting King

Cove and Cold Bay], vehicular traffic, and intensified human use could alter migratory patterns”

of the “nearly 6,000–7,000” caribou that migrate through the isthmus twice a year between their

wintering range and calving grounds, and that roads built in other areas of the state have “pose[d]

a serious barrier to caribou movements.” Bristol Bay Reg’l Mgmt. Plan and Final Environmental

Impact Statement at 8-32, U.S. Dep’t of Interior (1985).

        61.      The Bristol Bay Regional Management Plan further found that a road “would

result in expanded human presence and traffic . . . provid[ing] greater access into a relatively

remote, undisturbed region in the Joshua Green River drainage and in key bear use areas in Right

and Lefthand valleys” such that “[b]ears could be expected to change their behavior . . . and


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might abandon some traditional use areas.” Bristol Bay Reg’l Mgmt. Plan and Final

Environmental Impact Statement at 8-38, U.S. Dep’t of Interior (1985).

        62.      DOI concluded that “[t]he King Cove-Cold Bay road could have major, local

impacts” to wilderness values. Bristol Bay Reg’l Mgmt. Plan and Final Environmental Impact

Statement at 8-67, U.S. Dep’t of Interior (1985).

        63.      In 1996, FWS again addressed the issue of a road through Izembek and again

found that a road would have unacceptable environmental impacts.

        64.      In 1997, KCC offered to exchange KCC lands at the mouth of the Kinzarof

Lagoon for a right-of-way through Izembek. FWS declined the offer because of adverse impacts

of a road to wildlife.

        65.      Also in 1997, Senator Frank Murkowski introduced a bill that would have

required the Secretary to allow road construction through Izembek. That bill was amended and

eventually passed as part of an appropriations act. Instead of mandating a road, the legislation

expressly prohibited a road. Rather, it authorized $37.5 million dollars for various projects to

improve health and safety infrastructure and services in King Cove. Omnibus Consolidated and

Emergency Supplemental Appropriations Act, Pub. L. No. 105–277, § 353, 112 Stat. 2681, 302–

03 (1999) (specifically prohibiting the construction of any road or other facilities within

Izembek). One of the projects authorized was the purchase of a hovercraft and construction of a

hovercraft facility outside of the Refuge.

        66.      In 1998, FWS called the proposal to build a road “the greatest known potential

threat to wildlife and wilderness values within the Izembek complex.” Land Protection Plan for

Izembek National Wildlife Refuge Complex, Cold Bay, Alaska at 53, U.S. Dep’t of Interior,

FWS, Region 7, Anchorage, AK (March 1998). FWS again noted the “significant wildlife and


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wilderness resources in the area,” including important wintering area and migration corridor of

caribou, an adjacent “key brown bear natal area that supports the highest densities of bears on the

lower Alaska Peninsula,” and “outstanding and essential habitat for a variety of species,

including the threatened Steller’s eider, Pacific black brant, tundra swan and emperor goose.”

Land Protection Plan for Izembek National Wildlife Refuge Complex, Cold Bay, Alaska at 53,

U.S. Dep’t of Interior, FWS, Region 7, Anchorage, AK (March 1998).

        67.      From 2001 to 2004, the U.S. Army Corps of Engineers (“Corps”) completed a

National Environmental Policy Act review for the hovercraft terminal. As part of the analysis,

the Corps concluded that a hovercraft operating between two terminals was the preferred

alternative.

        68.      Following the Corps’ analysis and decision, the Aleutians East Borough

(“Borough”) purchased a hovercraft and constructed a portion of the road to the hovercraft

facility. During that time, the hovercraft was operated out of an existing facility and successfully

completed at least 22 medical evacuations in varying weather conditions.

        69.      Despite calling the hovercraft a “life-saving machine . . . doing what it is

supposed to do,” the Borough suspended hovercraft operations in 2010, citing unreliability and

cost.

        70.      The Borough continued road construction to what was supposed to serve as the

hovercraft facility, telling the Corps that the facility would be used for a landing craft or

passenger ferry instead.

        71.      During this same time, new bills were introduced in Congress to mandate a land

exchange to allow for road construction through Izembek. Rather than passing legislation that




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mandated an exchange for road construction, Congress amended the bill to instead allow the

Secretary to decide whether to exchange the Refuge lands if doing so was in the public interest.

        72.      That legislation was included in a national lands bill that passed in 2009: the

Omnibus Public Lands Management Act (OPLMA).

        73.      In OPLMA, Congress directed the Secretary to comply with NEPA and determine

“whether to carry out the land exchange.”

        74.      For the land exchange considered under OPLMA, KCC offered 13,300 acres of its

land and the State of Alaska offered to exchange 43,093 acres of its lands to the federal

government.

        75.      FWS prepared an EIS to analyze the impacts of the exchange under OPLMA, and

to document the results of this extensive scientific and public process. U.S. Dep’t of the Interior,

U.S. Fish and Wildlife Service, Izembek Nat’l Wildlife Refuge Land Exchange/Road Corridor

Final Environmental Impact Statement [“Final EIS”] (Feb. 5, 2013).

        76.      Aknowledging that threatened and listed species “may be present” in the area

under consideration for exchange, FWS prepared biological assessments under ESA section 7 to

evaluate impacts to Steller’s eiders, northern sea otters, and Steller sea lions. See U.S. DOI FISH

& WILDLIFE SERVICE, BIOLOGICAL ASSESSMENT OF THE STELLER’S EIDER AND NORTHERN SEA

OTTER FOR THE IZEMBEK NATIONAL WILDLIFE REFUGE LAND EXCHANGE/ROAD CORRIDOR EIS

(Feb. 2013) [hereinafter FWS ASSESSMENT]; U.S. DOI FISH & WILDLIFE SERVICE, PROJECT

DESCRIPTION AND EFFECTS ANALYSIS FOR ENDANGERED SPECIES STELLER SEA LION, IZEMBEK

NATIONAL WILDLIFE REFUGE LAND EXCHANGE/ROAD CORRIDOR EIS (Feb. 2013) [hereinafter

NMFS ASSESSMENT].




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        77.      FWS prepared its biological assessments solely to evaluate impacts of the

preferred alternative in the Final EIS — the No Action Alternative — under which the land

exchange would not occur and no road would be built. These biological assessments did not

study the impacts of road construction. FWS ASSESSMENT, 11; NMFS ASSESSMENT, 10.

        78.      After preparing these biological assessments, FWS determined through informal

consultation that the No Action Alternative would have “no effect” any listed species or critical

habitat in the Izembek Refuge. FWS ASSESSMENT 15; NMFS ASSESSMENT 11. No further action

was undertaken.

        79.      In its Final EIS, FWS specifically stated that the selection of any road alternatives

would likely require major permits, approvals, and consultations, including FWS and NMFS

Section 7 Consultation under the ESA. Final EIS at 1-25.

        80.      After completion of the Final EIS, Secretary Jewell made a decision not to

proceed with the land exchange. U.S. Dep’t of the Interior, U.S. Fish and Wildlife Service,

Record of Decision, Izembek Nat’l Wildlife Refuge Land Exchange/Road Corridor Final

Environmental Impact Statement [“ROD”] (Dec. 23, 2013).

        81.      In her decision, Secretary Jewell concluded that the impacts of a road through

Izembek would significantly and adversely affect the Refuge and “would not be offset” by

adding the exchange lands to Izembek. ROD at 2–4.

        82.      Secretary Jewell explained that not moving forward with the land exchange

“protects the unique resources the Department administers for the entire Nation.” ROD at 20. By

rejecting the land exchange, Secretary Jewell protected Izembek’s “unique and internationally

recognized habitats,” maintained the integrity of designated Wilderness, and ensured that the




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Refuge would continue to meet the purposes that it was originally established for in 1960 and re-

designated to achieve in ANILCA. ROD at 4, 7.

        83.      Secretary Jewell determined that not allowing the exchange would comply with

the obligations under the National Wildlife Refuge Administration Act. ROD at 7.

        84.      Secretary Jewell found that a land exchange would “diminish the ability of the

Service to meet the objectives of the Wilderness Act” because the impacts to the remaining

Wilderness in Izembek would be “irreparabl[e] and significant[].” ROD at 9.

        85.      Secretary Jewell specifically found that not proceeding with the exchange “best

satisfies Refuge purposes, and best accomplishes the mission of the Service and the goals of

Congress in ANILCA.” ROD at 20.

        86.      The King Cove Corporation, along with the Agdaagux Tribe of King Cove, the

Native Village of Belkofski, the Aleutians East Borough, the City of King Cove, and two

individuals, challenged Secretary Jewell’s decision in federal court. The State of Alaska joined

that litigation as an intervenor-plaintiff. Friends of Alaska National Wildlife Refuges, Defenders

of Wildlife, Wilderness Watch, Center for Biological Diversity, The Wilderness Society,

National Audubon Society, the National Wildlife Refuge Association, and the Sierra Club joined

as intervenor-defendants. The district court of Alaska upheld Secretary Jewell’s decision to not

move forward with a land exchange and road construction. The plaintiffs and the State of Alaska

appealed that decision to the Ninth Circuit, but later voluntarily dismissed the case.

        87.      In May 2017, KCC wrote to Secretary Zinke asking him to exchange land under

ANCSA and ANILCA “that would allow King Cove to complete a road connection between

King Cove and Cold Bay, Alaska.” KCC “request[ed] that DOI enter into a process to consider a




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land exchange between the King Cove Corporation and the U.S. Government and Department of

the Interior in accordance with AN[CS]A, ANILCA, and other pertinent laws.”

        88.      Secretary Zinke “mandated that the Fish and Wildlife Service explore the option

of a land trade between the Izembek Refuge and the King Cove Native Corporation.” Minimum

Requirements Decision Guide Workbook, Project Title: Proposed King Cove-Cold Bay Road

Corridor Engineering Reconnaissance, signed by Gregory S. Risdahl (June 23, 2017).

        89.      As a result, FWS issued a permit to the Alaska Department of Transportation and

Public Facilities to conduct a ground-based reconnaissance of two proposed road alignments

between King Cove and Cold Bay. This survey was to collect data “to determine the feasibility

of road alignments, potential material sources, localized topography, and geologic and

environmental conditions in order to analyze the best possible location for the road. Id.

        90.      Secretary Zinke signed an “Agreement for the Exchange of Lands” with KCC on

January 22, 2018. U.S. Dep’t of the Interior, Fish and Wildlife Service, Agreement for the

Exchange of Lands (Jan. 22, 2018) (“Exchange Agreement”).

        91.      The Exchange Agreement states that “[t]he authority for the exchange is section

1302(h) of [ANILCA].”

        92.      The Exchange Agreement is a binding agreement “to the exchange of real

property interests.”

        93.      The Exchange Agreement states that “the United States will convey to KCC the

surface and subsurface estate of up to 500 acres from within [the Refuge] that are identified by

KCC as being needed for the construction, operation, and maintenance of a road linking King

Cove with the Cold Bay airport (the U.S. Exchange Lands).”




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         94.     In return, KCC will “convey to the United States the surface estate of certain

lands it owns in Izembek [National Wildlife Refuge] and Alaska Peninsula National Wildlife

Refuge (the KCC Exchange Lands).” These lands will be selected from all of the lands KCC

owns within Izembek and the Alaska Peninsula National Wildlife Refuge (the KCC Exchange

Lands Pool). Under the Exchange Agreement, KCC will identify which exact lands it will

convey to the United States from the KCC Exchange Lands Pool.

         95.     KCC will also relinquish its selection rights under ANCSA to 5,430 acres located

within Izembek. KCC will be entitled to the conveyance of 5,430 acres previously selected, but

not yet conveyed under ANCSA, outside of Izembek. None of the lands KCC selected under

ANCSA are in the pool of U.S. Exchange Lands.

         96.     The Exchange Agreement sets forth a process for KCC to select the exact lands

that will comprise the U.S. Exchange Lands and the KCC Exchange Lands, and mandates that

the lands will be of equal value.

         97.     Under the Exchange Agreement, no additional decisions remain to be made by

Secretary Zinke, the Department of Interior, or FWS. The only additional actions that the

Department of the Interior will take under the Exchange Agreement is to appraise both the U.S.

Exchange Lands and the KCC Exchange Lands Pool and notify KCC of the exact number of

acres of land from the KCC Exchange Lands Pool that will equal the value of the U.S. Exchange

Lands.

         98.     The Exchange Agreement is a final agreement that binds Secretary Zinke, the

Department of Interior, and FWS to exchange lands with KCC.

         99.     The Exchange Agreement imposes road construction standards and some use

prohibitions. These standards and prohibitions must be included in any patent issued by the


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Secretary to ensure that the Izembek lands remain subject to the laws and regulations governing

use and development in the Izembek Refuge. 43 U.S.C. § 1621(g).

        100.     The Exchange Agreement states that the conveyance of the U.S. Exchange Lands

will be by patent issued by the Bureau of Land Management, “preceded by Interim Conveyance

if necessary.”

        101.     Based on information and belief, the lands received by KCC will be transferred to

the State of Alaska, and the State of Alaska will be responsible for permitting and constructing

the road.

        102.     News reports on the Exchange Agreement stated that: “After the exchange is

done, the land would be turned over by King Cove Corp. to the state of Alaska” and noted that

the State of Alaska is responsible for constructing the road. Nathaniel Herz, King Cove and Feds

Sign Deal to Advance Proposed Road Through Wildlife Refuge, Alaska Dispatch News (Jan. 22,

2018), https://www.adn.com/politics/2018/01/22/king-cove-and-feds-sign-deal-to-advance-

proposed-road-through-wildlife-refuge/ .

        103.     State of Alaska Governor Bill Walker issued a press release noting that the “land

conveyance will enable construction of the road to finally move forward” and that the State has

ensured that “$7.5 million remained in the capital budget last year to jump start construction of

the road.” Press Release No. 19-007, Office of the Governor, Governor Applauds Unified Effort

to Achieve Long-Sought King Cove Road (Jan. 22, 2018), https://gov.alaska.gov/newsroom/

2018/01/governor-applauds-unified-effort-to-achieve-long-sought-king-cove-road/ .

        104.     Based on information and belief, the Secretary did not prepare any biological

assessments for review by FWS or NMFS on the potential impacts of the land exchange to listed

species and critical habitat under Section 7 of the ESA.


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                                FIRST CLAIM FOR RELIEF
        (Violation of Alaska National Interest Lands Conservation Act, 16 U.S.C. § 3192)

        105.     Friends re-alleges paragraphs 1–104.

        106.     ANICLA mandates that acquiring lands be for the purposes of the Act. 16 U.S.C.

§ 3192(h).

        107.     The exchange does not further the purposes of ANILCA.

        108.     Secretary Zinke’s decision to exchange Izembek lands for KCC lands does not

further the purposes of ANILCA and is arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law. 5 U.S.C. § 706.

                              SECOND CLAIM FOR RELIEF
    (Violation of Alaska National Interest Lands Conservation Act, 16 U.S.C. §§ 3161–3173)

        109.     Friends re-alleges paragraphs 1–108.

        110.      Title XI of ANICLA requires that transportation systems through conservation

system units in Alaska be approved or disapproved through its “single comprehensive statutory

authority” and mandates that any action “by any Federal agency under applicable law with

respect to the approval or disapproval of the authorization, in whole or in part, of any

transportation or utility system shall not have any force or effect unless the provisions of this

section are complied with.” 16 U.S.C. §§ 3161(c), 3164.

        111.     Title XI of ANILCA prohibits the construction of transportation systems through

designated Wilderness without recommendation by the President and approval by Congress. 16

U.S.C. § 3166.

        112.     The Exchange Agreement specifically states that it is for the purpose of allowing

the construction of a road.

        113.     The Exchange Agreement was not adopted pursuant to Title XI’s procedures.



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        114.     The President has not recommended to Congress that a road be constructed

through Izembek pursuant to Title XI’s procedures.

        115.     Congress has not approved a road through Izembek.

        116.     Secretary Zinke’s decision to exchange Izembek lands for KCC lands for the

purpose of allowing the construction of a road through the Refuge without complying with Title

XI of ANICLA is arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law. 5 U.S.C. § 706.

                                THIRD CLAIM FOR RELIEF
    (Violation of the National Environmental Policy Act (NEPA), 42 U.S.C. §§ 4321–4370h)

        117.     Friends re-alleges paragraphs 1–116.

        118.     NEPA requires the preparation of an EIS for all “major Federal actions

significantly affecting the quality of the human environment.” 42 U.S.C. § 4332(2)(C); 40 C.F.R.

§ 1501.4.

        119.     The Exchange Agreement for the purpose of allowing the construction of a road

through Izembek is a major federal action significantly affecting the quality of the human

environment.

        120.     ANILCA § 910, 43 U.S.C. § 1638, does not apply to the Land Exchange

Agreement and does not exempt the Secretary from compliance with NEPA.

        121.     Secretary Zinke’s decision to exchange Izembek lands for KCC lands for the

purpose of allowing the construction of a road through the Refuge without complying with

NEPA is arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law. 5

U.S.C. § 706.




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                                        FOURTH CLAIM FOR RELIEF

                 (Violation of the Endangered Species Act (ESA), 16 U.S.C. §§ 1531–1544)

        122.     Friends re-alleges paragraphs 1–121.

        123.     Section 7(c) of the ESA requires federal agencies to conduct a biological

assessment of any endangered or threatened species likely to be affected by an agency action if

such species may be present in the area of the proposed action. 16 U.S.C. § 1536(c).

        124.     Species listed as either threatened or endangered pursuant to the ESA and

designated critical habitat are present in the Izembek National Wildlife Refuge.

        125.     Secretary Zinke did not prepare the biological assessments required for each

listed species and designated critical habitat in the area.

        126.     Secretary Zinke acted arbitrarily, capriciously, in abuse of discretion and violated

the ESA by failing to prepare biological assessments for the Steller’s eider and southwest Alaska

distinct population segment of the northern sea otter, and associated critical habitat for each

species. 16 U.S.C. § 1536(a)(2); 50 CFR § 402.12.



                                     REQUEST FOR RELIEF
        The Plaintiffs request that the Court grant the following relief:
        A.       Declare that Secretary Zinke’s decision to exchange Izembek lands for KCC lands
is arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law, in
violation of ANILCA, NEPA, and the ESA;
        B.       Vacate and set aside Secretary Zinke’s decision authorizing the exchange;
        C.       Invalidate the Exchange Agreement;
        D.       Enter appropriate injunctive relief;
        E.       Award Friends all reasonable costs and fees as authorized by law; and
        F.       Award Friends such other and further relief as this Court deems just and proper.


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        Respectfully submitted this 19th day of April, 2018,

                                                      s/ K. Strong
                                                     Katherine Strong (AK Bar No. 1105033)
                                                     Brook Brisson (AK Bar No. 0905013)
                                                     Valerie Brown (AK Bar No. 9712099)
                                                     TRUSTEES FOR ALASKA

                                                     Attorneys for Plaintiffs




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                                     CERTIFICATE OF SERVICE

       I certify that on April 19, 2018, I caused a copy of PLAINTIFFS’ FIRST AMENDED
COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF to be electronically filed
with the Clerk of the Court for the U.S. District Court of Alaska using the CM/ECF system,
which will send electronic notification of such filings to the attorneys of record in this case
whom are registered with the CM/ECF system.


                                                      s/ K. Strong
                                                     Katherine Strong (AK Bar No. 1105033)




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